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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-02468-NRN

JESSE CHALMERS, SR.,
on behalf of J.C., a minor child,

Plaintiff,

v.

Richard Martin,

Defendant.

                                    MINUTE ORDER

Entered by Magistrate Judge N. Reid Neureiter

        Pursuant to communications with the parties, it is hereby ORDERED that the
Final Pretrial Conference set on September 7, 2022 at 2:00 p.m. is CONVERTED to a
telephonic Status Conference. The parties are reminded to call the conference line as a
participant at (888) 398-2342, Access Code 5755390# at the scheduled time.

Date: August 31, 2022
